       Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 1 of 8




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,
                                                     Civil Action File No.
                       v.                            1:18-cv-05868-LMM

JOSEPH A. MEYER, JR. and
STATIM HOLDINGS, INC.,


                             Defendants.

  FINAL JUDGMENT AS TO DEFENDANT STATIM HOLDINGS, INC.

      The Securities and Exchange Commission having filed a Complaint and

Defendant Statim Holdings, Inc. having entered a general appearance; consented to

the Court’s jurisdiction over Defendant and the subject matter of this action;

consented to entry of this Final Judgment without admitting or denying the

allegations of the Complaint (except as to jurisdiction); waived findings of fact and

conclusions of law; and waived any right to appeal from this Final Judgment:

                                          I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating, directly or indirectly,
       Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 2 of 8




Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5],

by using any means or instrumentality of interstate commerce, or of the mails, or

of any facility of any national securities exchange, in connection with the purchase

or sale of any security:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to make any untrue statement of a material fact or to omit to state a

      material fact necessary in order to make the statements made, in the light of

      the circumstances under which they were made, not misleading; or

      (c)    to engage in any act, practice, or course of business which operates or

      would operate as a fraud or deceit upon any person

      by, directly or indirectly, (i) creating a false appearance or otherwise

deceiving any person, or (ii) disseminating false or misleading documents,

materials, or information or making, either orally or in writing, any false or

misleading statement in any communication with any investor or prospective

investor, about:

             (A) any investment strategy or investment in securities,

             (B) the prospects for success of any product or company,

             (C) the use of investor funds,

                                          2
        Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 3 of 8




             (D) compensation to any person,

             (E) Defendant’s qualifications to advise investors; or

             (F) the misappropriation of investor funds or investment proceeds.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         II.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is permanently restrained and enjoined from violating Section 17(a)

of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the

offer or sale of any security by the use of any means or instruments of

transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

      (a)    to employ any device, scheme, or artifice to defraud;

      (b)    to obtain money or property by means of any untrue statement of a

      material fact or any omission of a material fact necessary in order to make

                                         3
       Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 4 of 8




      the statements made, in light of the circumstances under which they were

      made, not misleading; or

      (c)    to engage in any transaction, practice, or course of business which

operates or would operate as a fraud or deceit upon the purchaser

      by, directly or indirectly, (i) creating a false appearance or otherwise

deceiving any person, or (ii) disseminating false or misleading documents,

materials, or information or making, either orally or in writing, any false or

misleading statement in any communication with any investor or prospective

investor, about:

             (A) any investment strategy or investment in securities,

             (B) the prospects for success of any product or company,

             (C) the use of investor funds,

             (D) compensation to any person,

             (E) Defendant’s qualifications to advise investors; or

             (F) the misappropriation of investor funds or investment proceeds.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s officers, agents, servants, employees, and

                                          4
       Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 5 of 8




attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

                                         III.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant and Defendant’s agents, servants, employees, attorneys, and all

persons in active concert or participation with them who receive actual notice of

this Final Judgment by personal service or otherwise are permanently

restrained and enjoined from violating, while acting as an investment adviser,

Sections 206(1) and (2) of the Investment Advisers Act of 1940 (the “Investment

Advisers Act”) [15 U.S.C. § 80b-6(1) and (2)] by using the mails or any means

or instrumentality of interstate commerce, directly or indirectly:

      (a)    to employ any device, scheme, or artifice to defraud any client or

             prospective client; or

      (b)    to engage in any transaction, practice, or course of business which

             operates as a fraud or deceit upon any client or prospective client

by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any

client or prospective client, or (ii) disseminating false or misleading documents,

materials, or information or making, either orally or in writing, any false or

misleading statement in any communication with any client or prospective client,

                                          5
         Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 6 of 8




about:

             (A) any investment strategy or investment in securities,

             (B) the prospects for success of any product or company,

             (C) the use of client funds,

             (D) compensation to any person,

             (E) Defendant’s qualifications to advise clients; or

             (F) the misappropriation of client funds or investment proceeds.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys;

and (b) other persons in active concert or participation with Defendants or with

anyone described in (a).

                                            IV.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating Section 206(4) of

the Advisers Act [15 U.S.C. § 80b-6(4)] and Rule 206(4)-8 thereunder [17 C.F.R. §

275.206(4)-8], while acting as an investment adviser to a pooled investment




                                            6
       Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 7 of 8




vehicle, by use of the means and instrumentalities of interstate commerce and of

the mails, from

      a. making untrue statements of material fact and omitting to state material

         facts necessary to make statements made, in the light of circumstances

         under which they were made, not misleading, to investors and

         prospective investors in pooled investments vehicles; and

      b. engaging in acts, practices, and course of business that were fraudulent,

         deceptive, and manipulative with respect to investors and prospective

         investors in pooled investment vehicles.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Judgment by personal service

or otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys;

and (b) other persons in active concert or participation with Defendants or with

anyone described in (a).

                                         V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is jointly and severally liable with Defendant Joseph A. Meyer for

disgorgement of $1,140,000, representing net profits gained as a result of the

                                         7
       Case 1:18-cv-05868-LMM Document 246 Filed 04/18/22 Page 8 of 8




conduct alleged in the Complaint, together with prejudgment interest thereon in the

amount of $384,829, but the Court deems disgorgement and prejudgment interest

satisfied by the amount collected by the receiver and distributed to investors;

                                         VI.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth

herein, and that Defendant shall comply with all of the undertakings and

agreements set forth therein.

                                         VII.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this

Court shall retain jurisdiction of this matter for the purposes of enforcing the terms

of this Final Judgment.

                                        VIII.

      There being no just reason for delay, pursuant to Rule 54(b) of the Federal

Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment

forthwith and without further notice.


           April 18
Dated: ______________, _____
                        2022

                                        ____________________________________
                                        JUDGE LEIGH MARTIN MAY
                                        UNITED STATES DISTRICT JUDGE
                                          8
